   Case 0:18-cv-61833-MGC Document 1-1 Entered on FLSD Docket 08/07/2018 Page 1 of 12
Filing # 74121177 E-Filed 06/26/2018 02:44:30 PM
                                                             IN THE CIRCUIT COURT OF THE
                                                             17TH JUDICIAL CIRCUIT IN AND
                                                             FOR BRO WARD COUNTY, FLORIDA

        RACHEL SADDOUKI, individually,                       GENERAL JURISDICTION DIVISION
        and MHAMMED SADDOUKI, her husband,

              Plaintiff,                                     CASE NO.:

        V.

        TARGET CORPORATION and IMPERIAL
        ROOF SYSTEMS CO.,

                      Defendants.

                                      COMPLAINT FOR DAMAGES

              Plaintiffs, RACHEL SADDOUKI, individually, and MHAMMED SADDOUKI, her

        husband, by and through their undersigned attorney, and sue Defendants, TARGET

        CORPORATION (hereinafter "TARGET") and IMPERIAL ROOF SYSTEMS CO. (hereinafter

        "IMPERIAL ROOF SYSTEMS") and alleges as follows:

                                         GENERAL ALLEGATIONS

        1.    This is an action for damages in excess of Fifteen Thousand Dollars ($15,000.00), not

              inclusive of attorney's fees and costs.

        2.    Plaintiff, RACHEL SADDOUKI, at all times material and relevant hereto was a resident

              of Broward County, Florida, and is suijuris.

        3.    Plaintiff, MHAMMED SADDOUKI, was and is the lawful husband of the Plaintiff,

              RACHEL SADDOUKI, at all times material and relevant hereto was a resident of

              Broward County, Florida, and is suijuris.

        4.    Defendant, TARGET, is a foreign corporation that was licensed and doing business in

              Broward County, Florida.

        5.    Defendant, IMPERIAL ROOF SYSTEMS, is a foreign corporation that was licensed and

              doing business in Broward County, Florida.
Case 0:18-cv-61833-MGC Document 1-1 Entered on FLSD Docket 08/07/2018 Page 2 of 12


     6.      On or about March 30, 2016, Plaintiff, RACHEL SADDOUKI, was lawfully on

             Defendant, TARGET's premises located at 5800 S. University Dr, Hollywood, Florida,

             as an invitee.

     7.      On or about March 30, 2016, Defendant, TARGET, by and through its agents, employees,

             and/or servants, had dominion, possession and control of the premises.

     8.      On or about March 30, 2016, Defendant's, TARGET, agents, employees, and/or servants

             acted within the course and scope of their employment.

     9.      On or before March 30, 2016, Defendant, IMPERIAL ROOF SYSTEMS, by and through

             its agents, employees, and/or servants, performed roof repairs and/or maintenance at the

            TARGET store located at 5800 S. University Dr., Hollywood, Florida.

                                COUNT I — NEGLIGENCE AGAINST TARGET

              Plaintiff, RACHEL SADDOUKI, reaffirms paragraphs 1 through 9 above as if fully set

     forth herein and further states:

     10.    On or about March 30, 2016, the Defendant, TARGET, by and through it's agents,

            employees, and/or servants, negligently and carelessly maintained the above mentioned

            premises where the accident ultimately occurred.

     11.    On or about March 30, 2016, and at all times material and relevant hereto, a leak from the

            ceiling, which resulted in water on the ground, constituted a defective, dangerous

            hazardous and unsafe condition at the Premises.

     12.    On or about March 30, 2016, the Defendant, by and through its agents and/or employees,

            did negligently own, operate, maintain, manage, inspect and/or control the Premises by

            allowing the aforementioned defective, dangerous, hazardous and/or unsafe condition to

            exist at and upon the Premises.

     13.    On or about March 30, 2016, and at all times material and relevant hereto, the Defendant,

            by and through its agents and/or employees, had a duty to maintain its aforementioned

            premises in a reasonably safe condition and to warn customers, patrons and/or invitees,
Case 0:18-cv-61833-MGC Document 1-1 Entered on FLSD Docket 08/07/2018 Page 3 of 12


           such as Plaintiff, RACHEL SADDOUKI, of known defective, dangerous, hazardous

           and/or unsafe conditions.

     14.   On or about March 30, 2016, and at all times material and relevant hereto, the Defendant,

           TARGET, by and through its agents and/or employees, breached its aforementioned duty.

     15.   That the defective, dangerous, hazardous and/or unsafe condition was known, or in the

           exercise of reasonable care, should have been known to the Defendant, by and through its

           agents and/or employees, prior to the occurrence of Plaintiffs accident.

     16.   That the defective, dangerous, hazardous and/or unsafe condition existed for a sufficient

           period of time such that the Defendant, TARGET, by and/or through its agents and/or

           employees, knew and/or in the exercise of reasonable care, should have known of the

           existence of the condition.

     17.   That at all times material and relevant hereto, the Defendant, TARGET, by and through its

           agents and/or employees, was negligent and careless in the ownership, operation,

           maintenance, management, construction and/or control of its premises in one or more of

           the following respects:

           (a)    By failing to maintain the premises in a reasonably safe manner for its patrons,
                  invitees and others properly and lawfully on the premises;

           (b)    By failing to prevent the creation of a defective, dangerous, hazardous and/or
                  unsafe condition on the premises;

           (c)    By allowing the creation of a defective, dangerous, hazardous and/or unsafe
                  conditions on the premises;

           (d)    By failing to inspect the premises for the existence of defective, dangerous,
                  hazardous and/or unsafe conditions;

           (e)    By failing to inspect the premises for defects such as the one which caused the
                  Plaintiffs injuries;

                  By allowing a defective, dangerous, hazardous and/or unsafe condition to remain
                  on their premises for an unreasonable length of time where a reasonable person
                  would have known that the condition existed;

           (g)    By failing to properly cordon off and/or mark the area where the defective,
                  dangerous, hazardous and/or unsafe condition existed;
Case 0:18-cv-61833-MGC Document 1-1 Entered on FLSD Docket 08/07/2018 Page 4 of 12


          (h)     By failing to properly notify and/or otherwise warn persons using the Premises of
                  the existence of a defective, dangerous, hazardous and/or unsafe condition;

          (i)     By failing to abate, rectify and/or repair the defective, dangerous, hazardous and/or
                  unsafe condition in a timely manner;

          (I)     By failing to have others that may be responsible, either by law or delegation, for
                  the upkeep and repair of the premises, to maintain the premises in a safe condition;

          (k)     By failing to adequately supervise its agents and/or employees, and thus allowing a
                  defective, dangerous, hazardous and/or unsafe condition to exist;

          (1)     By failing to take other actions to prevent the defective, dangerous, hazardous
                  and/or unsafe condition from existing;



    18.   On March 30, 2016, and at all times material and relevant hereto, Plaintiff, RACHEL

          SADDOUKI, was at and upon the aforementioned premises, as a lawful customer, patron

          and/or invitee of the Defendant.

    19.   That on or about the accident date herein, Plaintiff, while at and upon the Premises of the

          Defendant, TARGET, was injured due to the negligence of the Defendant, TARGET, by

          and through its agents and/or employees, which failed to properly maintain their premises

          in a reasonable, safe and non-negligent manner as described herein.

    20.   That as a direct and proximate result of the negligence of the Defendant, TARGET, by

          and/or through its agents and/or employees, as set forth above, Plaintiff suffered serious

          permanent and non-permanent injuries in and about her body and extremities. Moreover

          Plaintiff did in the past and will in the future, suffer: bodily injuries; disability, both

          temporary and permanent, within a reasonable degree of medical probability;

          disfigurement and scarring of a significant nature; mental anguish; loss of the capacity for

          the enjoyment of life; medical and hospital expenses; loss of earning capacity; loss of

          earnings; incurred medical expenses in the treatment of related injuries; loss of bodily

          function; and aggravation of pre-existing condition.
Case 0:18-cv-61833-MGC Document 1-1 Entered on FLSD Docket 08/07/2018 Page 5 of 12


              WHEREFORE, Plaintiff, RACHEL SADDOUKI, demands judgment against the

     Defendant, TARGET, plus costs, and such other and further relief as this Court deems proper, and

     further demands a trial by jury on all issues so triable as a matter of right.

                     COUNT II— LOSS OF CONSORTIUM CLAIM AGAINST TARGET

              Plaintiff, MHAMMED SADDOUKI, hereinafter reaffirms and realleges each and every

    allegation contained in paragraphs 1 through 20 above as if fully set forth herein and further

    states:

     21.      On or about March 30, 2016, Plaintiff, MHAMMED SADDOUKI, was the spouse of

              Plaintiff, RACHEL SADDOUKI, who was injured as a direct result of the negligence of

              Defendant, TARGET.

    22.       Plaintiff, MHAMMED SADDOUKI, as spouse of RACHEL SADDOUKI, has suffered

              the loss of his wife's services, companionship, comfort and society as a result of the

              incident complained of herein and he will continue to lose such services, companionship

              and consortium in the future.

              WHEREFORE, Plaintiff, MHAMMED SADDOUKI, demands judgment damages

    against the Defendant, TARGET, plus costs, and such other and further relief as this Court deems

    proper, and further demands a trial by jury on all issues so triable as a matter of right.



                                    COUNT III
               NEGLIGENCE AGAINST DEFENDANT, IMPERIAL ROOF SYSTEMS

               Plaintiff, RACHEL SADDOUKI, reaffirms paragraphs 1 through 9 above as if fully set

    forth herein and further states:

    23.       On or about March, 30, 2016, the Defendant, IMPERIAL ROOF SYSTEMS, by and

              through it's agents, employees, and/or servants, negligently and carelessly maintained the

              above mentioned premises, and specifically the ceiling and/or roof where the accident

              ultimately occurred.
Case 0:18-cv-61833-MGC Document 1-1 Entered on FLSD Docket 08/07/2018 Page 6 of 12


    •24.   On or about March, 30, 2016, a leak from the roof, which resulted in water on the ground,

           constituted a defective, dangerous hazardous and unsafe condition at the Premises.

     25.   On or before March, 30, 2016, the Defendant, IMPERIAL ROOF SYSTEMS, by and

           through it's agents and/or employees, did negligently repair, maintain, construct and/or

           inspect the roof/ceiling at the subject Premises and allowed a defective, dangerous,

           hazardous and/or unsafe condition to exist at and upon the Premises.

     26.   On or about March, 30, 2016, and at all times material and relevant hereto, the Defendant,

           IMPERIAL ROOF SYSTEMS, by and through its agents and/or employees, had a duty to

           reasonably construct, repair and/or maintain the roof/ceiling area at the subject TARGET.

    27.    On or about March 30, 2016, the Defendant, IMPERIAL ROOF SYSTEMS, by and

           through it's agents and/or employees, had a duty to warn customers, patrons and/or

           invitees, such as Plaintiff, of known defective, dangerous, hazardous and/or unsafe

           conditions.

    28.    On or about March, 30, 2016, and at all times material and relevant hereto, the Defendant,

           IMPERIAL ROOF SYSTEMS, by and through its agents and/or employees, breached its

           aforementioned duty.

    29.    That the defective, dangerous, hazardous and/or unsafe condition was known, or in the

           exercise of reasonable care, should have been known to the Defendant, IMPERIAL ROOF

           SYSTEMS, by and through its agents and/or employees, prior to the occurrence of

           Plaintiffs accident.

    30.    That the defective, dangerous, hazardous and/or unsafe condition existed for a sufficient

           period of time such that the Defendant, IMPERIAL ROOF SYSTEMS, by and/or through

           its agents and/or employees, knew and/or in the exercise of reasonable care, should have

           known of the existence of the condition.

    31.    That at all times material and relevant hereto, the Defendant, IMPERIAL ROOF

           SYSTEMS, by and through its agents and/or employees, was negligent and careless in the
Case 0:18-cv-61833-MGC Document 1-1 Entered on FLSD Docket 08/07/2018 Page 7 of 12


          maintenance, repair, inspection and/or construction of the roof/ceiling at the subject

          premises in one or more of the following respects:

          (a)    By allowing the creation of a defective, dangerous, hazardous and/or unsafe
                 condition to exist on the premises;

          (b)    By failing to inspect the roof/ceiling for the existence of defective, dangerous,
                 hazardous and/or unsafe conditions;

          (c)    By failing to properly cordon off and/or mark the area where the defective,
                 dangerous, hazardous and/or unsafe condition existed;

          (d)    By failing to properly notify and/or otherwise warn persons using the Premises of
                 the existence of a defective, dangerous, hazardous and/or unsafe condition;

          (e)    By failing to abate, rectify and/or repair the defective, dangerous, hazardous and/or
                 unsafe condition in a timely manner;

          (0     By failing to have others that may be responsible, either by law or delegation, for
                 the upkeep and repair of the roof/ceiling, to maintain the premises in a safe
                 condition;

          (g)    By failing to adequately supervise its agents and/or employees, and thus allowing a
                 defective, dangerous, hazardous and/or unsafe condition to exist;

          (h)    By failing to take other actions to prevent the defective, dangerous, hazardous
                 and/or unsafe condition from existing;


    32.   On March, 30, 2016, and at all times material and relevant hereto, Plaintiff, RACHEL

          SADDOUKI, was at and upon the aforementioned premises, as a lawful customer, patron

          and/or invitee of the Defendant.

    33.   That on or about the accident date herein, Plaintiff, RACHEL SADDOUKI, while at and

          upon the Premises of the Defendant, TARGET, was injured due to the negligence of the

          Defendant, IMPERIAL ROOF SYSTEMS, by and through its agents and/or employees, as

          described herein.

    34.   That as a direct and proximate result of the negligence of the Defendant, IMPERIAL

          ROOF SYSTEMS, by and/or through its agents and/or employees, as set forth above,

          Plaintiff suffered serious permanent and non-permanent injuries in and about her body and

          extremities. Moreover Plaintiff did in the past and will in the future, suffer: bodily
Case 0:18-cv-61833-MGC Document 1-1 Entered on FLSD Docket 08/07/2018 Page 8 of 12


             injuries; disability, both temporary and permanent, within a reasonable degree of medical

             probability; disfigurement and scarring of a significant nature; mental anguish; loss of the

             capacity for the enjoyment of life; medical and hospital expenses; loss of earning capacity;

             loss of earnings; incurred medical expenses in the treatment of related injuries; loss of

             bodily function; and aggravation of pre-existing condition.

             WHEREFORE, Plaintiff, RACHEL SADDOUKI, hereby demands judgment against the

    Defendant, IMPERIAL ROOF SYSTEMS, plus costs, and such other and further relief as this

    Court deems proper, and further demands a trial by jury on all issues so triable as a matter of right.



                         COUNT IV — LOSS OF CONSORTIUM CLAIM AGAINST
                                    IMPERIAL ROOF SYSTEMS

             Plaintiff, MHAMMED SADDOUKI, hereinafter reaffirms and realleges each and every

    allegation contained in paragraphs 1 through 9 and 23 through 34 above as if fully set forth

    herein and further states:

    35.      On or about March 30, 2016, Plaintiff, MHAMMED SADDOUKI, was the spouse of

             Plaintiff, RACHEL SADDOUKI, who was injured as a direct result of the negligence of

             Defendant, IMPERIAL ROOF SYSTEMS.

    36.      Plaintiff, MHAMMED SADDOUKI, as spouse of RACHEL SADDOUKI, has suffered

             the loss of his wife's services, companionship, comfort and society as a result of the

             incident complained of herein and he will continue to lose such services, companionship

             and consortium in the future.

             WHEREFORE, Plaintiff, MHAMMED SADDOUKI, demands judgment against the

    Defendant, IMPERIAL ROOF SYSTEMS, plus costs, and such other and further relief as this

    Court deems proper, and further demands a trial by jury on all issues so triable as a matter of

    right.
Case 0:18-cv-61833-MGC Document 1-1 Entered on FLSD Docket 08/07/2018 Page 9 of 12




                                     DEMAND FOR JURY TRIAL

           Plaintiffs, RACHEL SADDOUKI, individually, and MHAMMED SADDOUKI, her
     husband, demand a trial by jury of all issues so triable.


           DATED this 26th day of June, 2018.
  Case 0:18-cv-61833-MGC Document 1-1 Entered on FLSD Docket 08/07/2018 Page 10 of 12
Filing # 74121177 E-Filed 06/26/2018 02:44:30 PM
                                                             IN THE CIRCUIT COURT OF THE 17TH
                                                             JUDICIAL CIRCUIT, IN AND FOR
                                                             BRO WARD COUNTY, FLORIDA

        RACHEL SADDOUKI, individually,
        and MHAMMED SADDOUKI, her husband,                   CASE NO.:

               Plaintiff,

        VS.


        TARGET CORPORATION and
        IMPERIAL ROOF SYSTEMS CO.,

               Defendants.

                             PLAINTIFFS' REQUEST FOR ADMISSIONS TO
                               DEFENDANT, TARGET CORPORATION

               COME NOW, the Plaintiffs, RACHEL SADDOUKI, individually, and MHAMMED

        SADDOUKI, her husband, by and through the undersigned attorneys, and hereby and request(s)

        that the Defendant, TARGET CORPORATION, admits the genuineness and truth of the

        following Request for Admissions, in accordance with the applicable Florida Rules of Civil

        Procedure, within forty-five (45) days from the date hereof.

               Be advised that this Request for Admissions concerns an accident which is alleged to

        have occurred on or about March 30, 2016, at the Target store located at 5800 S University Dr,

        Davie, Florida and that the questions herein refer to that date and the injuries sustained by

        Plaintiff, RACHEL SADDOUKI, on that date while at the Target store (hereinafter "the

        Premises").



               I.     Admit that the Defendant, TARGET CORPORATION, has been properly served.

               2.     Admit that the Defendant, TARGET CORPORATION, is a foreign corporation

        licensed to do business and doing business in Broward County, Florida.

               3.     Admit that the Defendant, TARGET CORPORATION, is properly named herein.
Case 0:18-cv-61833-MGC Document 1-1 Entered on FLSD Docket 08/07/2018 Page 11 of 12
             4.        Admit that on or about the date of the accident alleged herein, the Defendant,

     TARGET CORPORATION, operated the subject Target store located at 5800 S University Dr,

     Davie, Florida.

             5.        Admit that on or about the date of the accident alleged herein, the Defendant,

     TARGET CORPORATION, was responsible for maintaining the interior portion of the

     Premises.

             6.        Admit that on or about the date of the accident alleged herein, the Plaintiff was

     lawfully on the Premises.

             7.      Admit that on or about the date of the accident alleged herein, the Plaintiff was

     injured while at and upon the Premises of the Defendant.

             8.      Admit that on or about the date of the accident alleged herein, the Plaintiff

     reported having injured herself to a representative of the Defendant, TARGET.

             9.      Admit that on or about the date of the accident alleged herein, the Plaintiff injured

     herself on the Premises due to the negligence of the Defendant, by and through its agents and/or

     employees.

             10.     Admit Defendant, TARGET CORPORATION, hired IMPERIAL ROOF

     SYSTEMS to perform roof repairs at the subject Target store, prior to plaintiff's accident.

             11.     Admit the roof at the subject Target store was leaking on the day of Plaintiff's

     accident.

             12.       Admit that the Defendant, TARGET CORPORATION, by and through its agents

     and/or employees, was aware of leaks in the ceiling/roof area of the subject TARGET store

     during the 2 years prior to the subject incident.

             13.     Admit that the Defendant, TARGET CORPORATION, advised Defendant

     IMPERIAL ROOF SYSTEMS, of leaks in the roof/ceiling prior to the date of Plaintiff's

     accident.

             14.     Admit that Defendant, TARGET CORPORATION, requested the ceiling/roof

     area at the subject Target store to be repaired prior to the Plaintiff's accident.
Case 0:18-cv-61833-MGC Document 1-1 Entered on FLSD Docket 08/07/2018 Page 12 of 12
              15.    Admit there are no Fabre parties known to you at this time.



                                       CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to

      the Defendant, TARGET CORPORATION, along with the original Summons, the Complaint,

      Initial Interrogatories and Request for Production filed in this matter.

                                                         ROSENBERG & ROSENBERG, P.A.
                                                         Attorneys for Plaintiff
                                                         2501 Hollywood Blvd.
                                                         Suite 110
                                                         Hollywood, FL 33020
                                                         (954) 963-0444
                                                         (954) 963-1758 FAX
                                                         Service of Documents: 1itigation2@rrpa1aw.com
                                                         Gen. Communications: rbockschRrrpalaw.com



                                                         BY:l&eitita     Ceit4ACA—f
                                                           RACHELLE BOCKSCH, ESQ.,
                                                           FBN: 151823
